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                                     UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF PUERTO RICO


        In re:

        ISIDORO ROFFE COHEN;                                               CASE NO. 13-09590(ESL)
        ELIZABETH ROFFE

                 Debtors                                                   Chapter 7


                                MOTION TO WITHDRAW UNCLAIMED FUNDS

        TO THE HONORABLE COURT:

                 COMES NOW I & A INVESTMENT, LLC, (hereinafter “I & A INVESTMENT,

        LLC”), represented by its undersigned attorneys, and very respectfully alleges, states and prays:

                 1.        On April 24, 2019 (Docket No. 382), the Chapter 7 trustee filed a Report of

        Trustee Pursuant to Bankruptcy Rule 3011, reporting that I & A INVESTMENT did not cash

        within 90 days of issuance its dividend check for Claim No. 4(b) in the amount of $172,982.91.

                 2.        Accordingly, the Chapter 7 trustee consigned with the Clerk of the Court a check

        in the amount of $173,483.45, in compliance with 11 U.S.C. 347(a).

                 3.        I & A INVESTMENT did not receive the distribution check mailed by the

        Chapter 7 trustee.

                 4.        I & A INVESTMENT now moves the Court to withdraw the unclaimed funds

        deposited with the Clerk of the Court.

                 5.        The tax identification of I & INVESTMENT, LLC is #66-08979155.

                 WHEREFORE, it is respectfully requested that this Honorable Court enter an order

        authorizing the issuance by the Clerk of the Court of a check to the order of I & A
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        INVESTMENT, LLC for the unclaimed monies herein, the sum of $172,982.91, and that it be

        delivered to the undersigned counsel.

                                       NOTICE OF RESPONSE TIME

                Within fourteen (14) days after service is evidenced by the certification, and an
        additional three (3) days pursuant to Fed. R. Bank. P. 9006(f) if you were serviced by mail,
        any party against whom this motion has been served and file an objection or other
        appropriate response to this paper with the Clerk’s office of the U.S. Bankruptcy Court for
        the district of Puerto Rico. If no objection or other response is filed within the time allowed
        herein, the motion will be deemed unopposed and may be granted unless: (i) the requested
        relief is forbidden by law; (ii) the requested relief is against public policy; or (iii) in the
        opinion of the Court, the interest of justice requires otherwise.

               WE HEREBY CERTIFY that a copy of the Motion to Withdraw Unclaimed Funds was

        electronically filed by Movant using the CM/ECF System, which will send a notification to the

        Chapter 7 Trustee, Noreen Wiscovitch Rentas, Trustee, noreen@nwr-law.com, the US Trustee and

        to the debtor’s attorney. In addition, a copy of the Motion to Withdraw Unclaimed Funds was

        sent by Movant to the debtors at the address of record and to the US attorney for the District of

        Puerto Rico.

              San Juan, Puerto Rico, this 29th day of April, 2019.


                                             s/SERGIO A. RAMIREZ DE ARELLANO__
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